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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - -x
                                                                     :
 UNITED STATES OF AMERICA,                                           :          AFFIDAVIT OF CERTIFICATION
                                                                     :          PURSUANT TO LOCAL
                                - v. -                               :          CRIMINAL RULE 16.1
                                                                     :
  GHISLAINE MAXWELL,                                                 :          20 Cr. 330 (AJN)
                                                                     :
                                          Defendant.                 :
                                                                     :
 - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - -x

STATE OF NEW YORK             )
COUNTY OF NEW YORK            :                                          ss.:
SOUTHERN DISTRICT OF NEW YORK )

          MAURENE COMEY, pursuant to Title 28, United States Code, Section 1746, hereby

affirms under penalty of perjury:

          1.        I am an Assistant United States Attorney in the Office of Audrey Strauss,

Acting United States Attorney for the Southern District of New York. I am one of the Assistants

who represents the Government in these proceedings.

          2.        I certify pursuant to Local Criminal Rule 16.1 that the Government has conferred

in good faith with counsel to the defendant, Ghislaine Maxwell, regarding the Government’s

request to extend the deadline for the production of documents extracted from electronic devices

seized from Jeffrey Epstein (the “Production”) from November 9, 2020 to November 23, 2020,

and that the parties have been unable to reach agreement.

          3.        In particular, on November 4, 2020, the Government asked defense counsel

whether they would consent to a two-week extension to allow adequate time for an outside vendor

to finish bates stamping and downloading the Production. On the morning of November 6, 2020,
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defense counsel indicated that they would consent to the requested extension on four conditions.

First, the defense asked that the motion deadlines in this case be extended by three weeks. Second,

the defense asked that the Government provide the defendant with a laptop on which to review her

discovery at the Metropolitan Detention Center. Third, the defense asked that the Government

provide the defense with the names of the three Minor Victims listed in the Indictment by

November 23, 2020. Fourth, the defense asked that the Government provide the defense with all

Jencks Act material by November 23, 2020. In response, the Government agreed to the first two

conditions, but did not agree to the second two conditions. Accordingly, the parties have been

unable to reach agreement on the requested two-week extension of the deadline for the Production.

       4.      I hereby certify that the foregoing statements made by me are true.


Dated: New York, New York
       November 6, 2020

                                             _________________________
                                             Maurene Comey
                                             Assistant United States Attorney
                                             Telephone: (212) 637-2324




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